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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                                 ATHENS DIVISION

UNITED STATES OF AMERICA,           : SECOND SUPERSEDING INDICTMENT
                                    :
            v.                      : Case No. 3:21-CR-9
                                    :
CEDDRICK DEMON MERCERY,             :
                                    :
            Defendant.              :
___________________________________ :

                  SUMMARY OF TESTIMONY OF EXPERT WITNESS
                 ACCPD MASTER POLICE OFFICER AMANDA BLAIR

       The United States will offer expert testimony from Athens-Clarke County Police

Department (“ACCPD”) Master Police Officer Amanda Blair. As part of her duties with ACCPD,

Officer Blair is assigned to the Forensics Unit. She has been employed by ACCPD since

November 2010 and has been assigned to the Forensics Unit since February 2016, where her duties

include processing evidence for latent fingerprints and conducting latent fingerprint comparisons.

Officer Blair has advanced certification as a latent print examiner, and she is a frequent presenter

and adjunct instructor in the area of forensics and crime scene processing. As detailed below, she

has extensive training in latent print examinations:

Date                          Law Enforcement Training Course                        Course Hours
November 18, 2020             Latent Fingerprint Examiner Cert. Test                       4
December 4, 2019              Latent Print Examiner Training                               8
October 26, 2018              Latent Print Expert Testimony                                40
September 7, 2018             Advanced Friction Ridge Analysis                             40
April 13, 2018                Palm Print Comparisons                                       40
March 9, 2018                 Intermediate Friction Ridge Analysis II                      40
January 12, 2018              Intermediate Friction Ridge Analysis I                       40
February 4, 2016              Friction Ridge Comparisons                                   24
July 31, 2015                 Fingerprint Classification                                   40
July 30, 2014                 Latent Print Development Technique                           24
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       Officer Blair’s curriculum vitae (“CV”) outlining her qualifications and a copy of her

expert findings have already been provided to the Defendant in the discovery process. As

required by Rule 16 of the Federal Rules of Criminal Procedure, the following is a summary of

what Officer Blair will testify about at the trial of the above-styled case:

       Officer Blair will testify that she examined a latent print lifted off a “Digiweigh digital

scale” by ACCPD Det. Molly Lacey on September 5, 2019.1 Using the known exemplar palm

prints for MERCERY (SID: 3802158J) and the latent print lifted from the digital scale, Officer

Blair concluded that both prints had “a great deal of corresponding ridge detail with no differences

that would indicate they were made by differing palms.”

       RESPECTFULLY SUBMITTED, this 12th day of April, 2022.


                                              PETER D. LEARY
                                              UNITED STATES ATTORNEY
                                              MIDDLE DISTRICT OF GEORGIA

                                        BY: s/ Michael D. Morrison
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1
 The Digiweigh digital scale was located in a Honda Accord that Defendant was driving on
August 21, 2019, prior to fleeing on foot from ACCPD Officer Hunter Blackmon. It is the
Government’s contention that during the flight, Defendant discarded a Glock 9mm pistol and a
KelTec 9mm pistol – both of which he is charged with possessing as a prohibited person in
Count 4 of the Second Superseding Indictment.
                                                  2
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                                CERTIFICATE OF SERVICE

       I, MICHAEL D. MORRISON, Assistant United States Attorney, hereby certify that on

the 12th day of April, 2022, I electronically filed the within and foregoing Summary of

Testimony of Expert Witness ACCPD Officer Amanda Blair with the Clerk of the Court

using the CM/ECF system which will send notification of such filing to all parties of record.



                                              PETER D. LEARY
                                              UNITED STATES ATTORNEY
                                              MIDDLE DISTRICT OF GEORGIA

                                        BY: s/ Michael D. Morrison
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